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-.. ...“ -._.\ -"\.
!\l‘=: L_"§mj `j‘d‘ _ _` :.J.\.h

IN THE UNITED sTATEs D:STRICT couRT
FoR THE WESTERN DISTRICT or TENNESSEE , _ ,
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UNITED STATES OF AMERICA,
Plaintiff,

vs. Cv. No. 05-2127-D/P

Cr. No. 01-20295-D
ARNEATHA WILEY,

Defendant.

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ORDER DENYING MOTION TO PROCEED §§ FORMA PAUPERIS
ORDER DENYING MOTION FOR APPOINTMENT OF COUNSEL
AND
ORDER DENYING MOTION FOR PRODUCTION OF TRANSCRIPTS

 

Defendant, Arneatha Wiley, an inmate at the Federal Prison
Camp (FPC) in Greeneville, lllinois, has filed a motion under 28
U.S.C. § 2255, along with motions for appointment of counsel and
for free transcripts. Wiley filed a motion to proceed in forma
pauperis in support of the motion for appointment of counsel.

Rule 8(c) of the Rules Governing Section 2255 Proceedings in
the United States District Courts provides:

lf an evidentiary hearing is required, the judge shall

appoint counsel for a movant who qualifies for the

appointment of counsel under 18 U.S.C. § 3006A(g)1 and

the hearing shall be conducted as promptly as

practicable, having regard for the need of counsel for

both parties for adequate time for investigation and
preparation. These rules do not limit the appointment of

 

l The reference to 18 U.S.C. § 3006A(g), instead of 3006A(a)(2)(B),

both here and in Rule 8 of the Rules Governing Section 2254 Proceedings in the/f”_`
United States District Courts, is a result of the failure of Congress and the
Rules Committee to amend the Rules after section 3006A was amended. The language
formerly located at subsection g has since been slightly'modified and transferre
to subsection (a)(Z)(B).

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with Rule 58 and/or 79(&} FHCP on

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counsel under 18 U.S.C. § 3006A at any stage of the
proceeding if the interest of justice so reguires.

If, after reviewing' the amended motion to vacate, the Court
concludes that a hearing is necessary, the Court will appoint
counsel if Wiley qualifies to proceed as a pauper at that time.
The motion to proceed ip fp;ma pauperis and motion for appointment
of counsel are DENIED. The Court will revisit Wiley's pauper
status if it concludes that a hearing is necessary.

Wiley has filed a nmtion for free transcripts. Under 28
U.S.C. § 2255, he may only obtain one "if the trial judge or a
circuit judge certifies that the suit . . . is not frivolous and
that the transcript is needed to decide the issue presented by the
suit." 28 U.S.C. § 153(£).

ln order for the Court to decide if the suit is not frivolous,
a defendant must make a particularized showing of need for the
transcript to justify providing the transcript at government
expense. United States v. MacCollom, 426 U.S. 317,r 326 (1976). "A
federal prisoner is not entitled to obtain copies of Court records
at the Government's expense to search for possible defects merely
because he is indigent." Campbell v. United States, 538 F.2d 692,
693 {5th Cir. 19?6). See also United States v. Lewis, 605 F.2d
379, 380 (8th Cir. 1979)(no post-appeal right to a transcript
before filing motion under 28 U.S.C. § 2255); Bentlev v. United
States, 431 F.Zd 250, 252 (6th Cir. 1970)(defendant not entitled to
free transcript to search for grounds to file a motion under §
2255); United States v. Glass, 317 F.2d 200, 202 (4th Cir.

1963)("An indigent is not entitled to a transcript at government

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expense without a showing of the need, merely to comb the record in
the hope of discovering some flaw.").
"lf the Court is not given the benefit of some definite
allegation. as to the nature of the alleged illegal
aspects of the judgment and sentence, it is but natural
to surmise that this is a fishing expedition and that the
present vague allegation of illegality is not made in
good faith."
Culbert v. United States, 325 F.2d 920, 922 (8th Cir. 1964)(quoting
United States v. Lawler, 325 F. Supp. 602,r 605 (S.D. Tex. 1959)).
Defendant does not allege what transcripts are needed or that
they contain any information not presented in this motion. The
defendant suggests no basis for the request other than indigency
and the belief of entitlement to relief under § 2255. The Court
has not yet reviewed the issues presented in this motion to
determine if they are frivolous.

Thus, Wiley has not demonstrated a particularized need for the

requested transcripts and the motion is DENIED.

:T rs so oRDERED this 30*'"<13;; Of June 2005.

  

 

 

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This notice confirms a copy of the document docketed as number 5 in
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Honorable Bernice Donald
US DISTRICT COURT

